               Case 1:21-mj-00304-UA Document 3 Filed 01/12/21 Page 1 of 1




 UNITED STATES DISTRICT CO                     T
 SOUTHERN DISTRICT OF NE                       ORK
                                                              -- --------X
 UNITED STATES OF AMERIC                  I,                                            CONSENT TO PROCEE     BY
                                                                                        TELECONFERENCE

                               -v-
                                                                                         -~1-MAG- w-/
 ERIC MALLEY,

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  Defendant ERIC MALLEY
  following proceeding via ·
                                          1




  ~         Initial Appearance/                                   Counsel

                                                                tion, Defendant Must Sign Separate Wai er of
            Arraignment (If on
            Indictment Form)

             Preliminary Hearin                                   plaint


             Bail/Revocation/Detj ntion Heari g
                                                          I
             Status and/or Sche , ling Conf r nee

              Felony Plea/Trial/S              tence


                                                                                 s/ Marisa K. Cabrera
       s/ Eric Malle
                                                                                Defense Counsel's Signature
    Defendant's Signature
    (Judge may obtain verbal                   nsent on
    Record and Sign for Defend nt}

                                                                                   Marisa K. Cabrera
      Eric Malley
                                                                             Print Defense Counsel's Name
     Print Defendant's Name


                                               ted by re ia le telephone conferencing technology a d the dial-in
     This proceeding was con
     information for the call w                publicly I v ilable an  rovid d to the press.

        January 12, 2021

     Date
